                                        EXHIBIT B

                                      Proposed Order




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UNITED STATES BANKRUPTCY COURT
WESTERN DISTRICT OF NEW YORK
---------------------------------------------------------------x
                                                               :
In re                                                          :                  Chapter 11
                                                               :
ROCHESTER DRUG                                                 :                  Case No. 20-20230 (PRW)
CO-OPERATIVE, INC.                                             :
                                                               :
                  Debtor.                                      :
---------------------------------------------------------------x


                    ORDER GRANTING LIQUIDATING TRUSTEE’S
           SECOND OMNIBUS OBJECTION TO AMENDED CLAIMS FILED AGAINST
                      ROCHESTER DRUG CO-OPERATIVE, INC

           Upon the objection (the “Objection”)1 of the Liquidating Trustee for entry of an order (this

“Order”) disallowing and expunging the claims identified on Schedule 1 (collectively, the

“Objectionable Claims”) pursuant to section 502(b) of the Bankruptcy Code, Bankruptcy Rule 3007,

all as more fully set forth in the Objection; and upon the Declaration of David Greenblatt; and the

Court having found that it has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and

the Standing Order of Reference from the United States District Court for the Western District of

New York, dated February 29, 2012, and the Court having found that this is a core proceeding

pursuant to 28 U.S.C. § 157(b)(2); and the Court having found that venue of this proceeding and the



1
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Objection.


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Objection in this district is proper pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having

found that the Liquidating Trustee provided appropriate notice of the Objection and the opportunity

for a hearing on the Objection under the circumstances; and the Court having reviewed the Objection;

and the Court having determined that the legal and factual bases set forth in the Objection establish

just cause for the relief granted herein; and upon all of the proceedings had before the Court; and

after due deliberation and sufficient cause appearing therefor, it is HEREBY ORDERED THAT:

                 1.          The Objection is granted.

                 2.          The Objectionable Claims identified on Schedule 1 attached hereto are

disallowed and expunged in their entirety.

                 3.          The claims agent is authorized to update the Claims Register to reflect the

relief granted in this Order.

                 4.          Entry of this Order is without prejudice to the Liquidating Trustee’s right to

object to any other Claims in this chapter 11 case or to further object to the Objectionable Claims (to

the extent they are not disallowed and expunged pursuant to this Order) and/or to any Surviving

Claims (as defined in the Objection) on any grounds whatsoever, at a later date.

                 5.          Each Objectionable Claim and the Objection by the Liquidating Trustee to

each Objectionable Claim constitutes a separate contested matter as contemplated by Bankruptcy

Rule 9014. This Order shall be deemed a separate order with respect to each Objectionable Claim.

Any stay of this Order shall apply only to the contested matter which involves such creditor and

shall not act to stay the applicability or finality of this Order with respect to the other contested

matters covered hereby.

                 6.          The terms and conditions of this Order shall be immediately effective and

enforceable upon its entry.



                                                         2
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                 7.          The Liquidating Trustee is authorized to take all actions necessary to

effectuate the relief granted pursuant to this Order in accordance with the Objection.

                 8.          This Court retains jurisdiction with respect to all matters arising from or

related to the implementation of this Order.

Dated: _____________________, 2021


                                                    THE HONORABLE PAUL R. WARREN,
                                                    UNITED STATES BANKRUPTCY JUDGE




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                                      SCHEDULE 1




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              Claimant Name                    No. of         Amount of       Classification            Disposition
                                            Objectionable    Objectionable     (as filed) of
                                                Claim            Claim        Objectionable
                                                                                  Claim
BAUSCH HEALTH US LLC                             53             $1,051,350.72      GUC       Claim 53 is disallowed.
BRIGHTON‐EGGERT PHARMACY INC                    22402            $205,000.00       GUC       Claim 22402 is disallowed.

EULER HERMES NORTH AMERICA INSURANCE CO
(Agent for NEWEGG BUSINESS INC)                   63                $8,333.18       GUC       Claim 63 is disallowed.
EULER HERMES NORTH AMERICA INSURANCE CO
(Agent for GOLDEN BROTHERS, INC.)                147                $4,473.54       GUC       Claim 147 is disallowed.
GALDERMA LABORATORIES LP                          44               $22,757.47       GUC       Claim 44 is disallowed.
GALDERMA LABORATORIES LP                         375               $21,788.56       GUC       Claim 375 is disallowed.
GLAXOSMITHKLINE LLC                             20000           $3,956,535.04       GUC       Claim 20000 is disallowed.
HARRIS PHARMACEUTICAL INC                         4                 $6,937.46       GUC       Claim 4 is disallowed.
L&R DISRIBUTORS                                 20029               $3,491.85       GUC       Claim 20029 is disallowed.
LR LOGISTICAL SOLUTIONS                         20032              $20,361.90       GUC       Claim 20032 is disallowed.
PHARMACEUTICAL ASSOCIATES INC                     7                $47,735.51       GUC       Claim 7 is disallowed.
PRINCE OF PEACE ENTERPRISES INC                   23               $29,484.40       GUC       Claim 23 is disallowed.




                                 Schedule 1 to Order Granting Objection to Amended Claims

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